           Case 2:09-cr-00222-TLN Document 124 Filed 06/17/10 Page 1 of 3


1    DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
2    Dennis S. Waks, Bar #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700
5    Attorney for Defendant
     KHAMALE KEOVILAY
6
                         IN THE UNITED STATES DISTRICT COURT
7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,      )
10                                  )     Cr.S. 09-222-GEB
                     Plaintiff,     )
11                                  )     STIPULATION AND ORDER
               v.                   )
12                                  )
     KHAMALE KEOVILAY, et al.,      )     DATE: September 3, 2010
13                                  )     TIME: 9:00 a.m.
                     Defendants.    )     JUDGE: Hon. Garland E. Burrell
14                                  )
     __________________________     )
15
16
          It is hereby stipulated and agreed to by the United States of
17
     America through HEIKO P. COPPOLA, Assistant United States Attorney, and
18
     TODD D. LERAS, Assistant United States Attorney, defendant, KHAMALE
19
     KEOVILAY, by and though his counsel, DENNIS S. WAKS, Supervising
20
     Assistant Federal Defender, defendant, DAVID CHENG by and through his
21
     attorney, ALICE W. WONG, defendant MINGH THAM, by and through his
22
     attorney MICHAEL B. BIGELOW, defendant LONG NGUYEN, by and through his
23
     attorney, CHRISTOPHER H. WING, defendant, TUAN DAO, by and through his
24
     attorney KEN GIFFARD, defendant DUNG NGUYEN, by through his attorney
25
     MICHAEL D. LONG, and SANG HIN SAELEE, by and through his attorney, OLAF
26
     W. HEDBERG that the status conference set for Friday, June 18, 2010, be
27
     continued to a status conference on Friday, September 3, 2010, at 9:00
28
             Case 2:09-cr-00222-TLN Document 124 Filed 06/17/10 Page 2 of 3


1    a.m.
2           This continuance is being requested because defense counsel needs
3    additional time to prepare, to review discovery, and to interview
4    witnesses.    The parties have received a large amount of discovery and
5    have been advised that more is coming, including the Title III
6    documents.
7           Furthermore, the parties stipulate and agree that the interest of
8    justice served by granting this continuance outweighs the best interest
9    of the public and the defendants in a speedy trial.            (18 U.S.C. §
10   3161(h)(7)(A)).
11          Speedy trial time is to be excluded from the date of this order
12   through the date of the status conference set for September 3, 2010,
13   pursuant to 18 U.S.C. § 3161 (h)(7)(B)(iv) [reasonable time to prepare]
14   (Local Code T4).
15                                       Respectfully submitted,
                                         DANIEL J. BRODERICK
16                                       Federal Defender
17   DATED: June 15, 2010                /S/ Dennis S. Waks
18                                       DENNIS S. WAKS
                                         Supervising Assistant Federal Defender
19                                       Attorney for Defendant
                                         KHAMALE KEOVILAY
20
     DATED: June 15, 2010
21
                                         /s/ Dennis S. Waks for
22
                                         ALICE W. WONG, Attorney for
23                                       DAVID CHENG
24
     DATED: June 15, 2010
25                                       /s/ Dennis S. Waks for
26                                       MICHAEL B. BIGELOW, Attorney for
                                         MINH THAM
27
28


                                               2
              Case 2:09-cr-00222-TLN Document 124 Filed 06/17/10 Page 3 of 3


1    DATED: June 15, 2010
                                          /s/ Dennis S. Waks for
2
                                          CHRISTOPHER H. WING, Attorney for
3                                         LONG NGUYEN
4
     DATED: June 15, 2010
5                                         /s/ Dennis S. Waks for
6                                         KEN GIFFARD Attorney for
                                          TUAN DAO
7
8
9    DATED: June 15, 2010                 /s/ Dennis S. Waks for
10                                        MICHAEL D. LONG, Attorney for
                                          DUNG NGUYEN
11
12   DATED: June 15, 2010                 /s/ Dennis S. Waks for
13                                        OLAF W. HEDBERG, Attorney for
                                          SANG HIN SAELEE
14
15                                        BENJAMIN B. WAGNER
                                          United States Attorney
16
17   DATED: June 15, 2010                 /s/ Dennis S. Waks for
18                                        HEIKO P. COPPOLA
                                          Assistant U.S. Attorney
19
                                          /s/ Dennis S. Waks for
20
                                          TODD D. LERAS
21                                        Assistant U.S. Attorney
22
                                          O R D E R
23
24                IT IS SO ORDERED.
25   Dated:     June 16, 2010
26
27                                        GARLAND E. BURRELL, JR.
28                                        United States District Judge


                                                3
